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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

RALPH POPE,

       Plaintiff,

v.                                                      Case No: 8:17-cv-2000-T-30MAP

CITIBANK, N.A.,

       Defendant.


                                         ORDER

       THIS CAUSE comes before the Court upon the Joint Motion to Stay Case Pending

Arbitration (Dkt. 13). Upon review and consideration, it is therefore

       ORDERED AND ADJUDGED that:

       1.     The Joint Motion to Stay Case Pending Arbitration (Dkt. 13) is GRANTED.

       2.     All pending motions are denied as moot.

       3.     The Clerk is directed to stay these proceedings and administratively close

              this case.

       DONE and ORDERED in Tampa, Florida, this 18th day of December, 2017.




Copies furnished to:
Counsel/Parties of Record
